                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )           No. 3:06-CR-153
                                                     )           No. 3:06-CR-154
                                                     )           (Jordan / Guyton)
BILLY FLOYD LEASURE, et al.,                         )
                                                     )
                      Defendants.                    )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the district

court as may be appropriate. These two cases came before the Court for a hearing on March 28,

2007, on the government’s identical Motion for Joinder made in both cases [3:06-CR-153, Doc. 24]

and [3:06-CR-154, Doc. 41], filed March 27, 2007. Billy Floyd Leasure is charged in case number

3:06-CR-153 with one co-defendant, Angelo Handley. Mr. Leasure is charged in case number 3:06-

CR-154 with two co-defendants, Tasha Benjamin and Hobart Lynn Mitchell.

               At the hearing, the government was represented by Assistant United States Attorney

Tracee Plowell. Defendant Billy Floyd Leasure was present with counsel Boyd Venable. Mr.

Leasure’s co-defendant in 3:06-CR-153 is Angelo Handley, who was present at the hearing with his

attorney, Donny Young. There are no other defendants pending trial in either of these two cases.

In case number 3:06-CR-154, defendant Hobart Lynn Mitchell has entered a plea of guilty before

the District Court; and defendant Tasha Benjamin is scheduled for a change of plea hearing on

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March 29, 2007.

               The government moved the Court to join these two indictments for trial. The

government argued that the two cases do not involve the same conspiracy, but do involve the “same

series of drug transactions” and the same witnesses. Counsel for Mr. Leasure opposed the motion

to join the two cases and reported that Mr. Leasure’s defense is prepared to proceed to trial on

March 29, 2007, as originally scheduled on case number 3:06-CR-154. Counsel for Mr. Handley

also opposed the motion to join the cases for trial. The trail date in case number 3:06-CR-153 is July

16, 2007.

               The Court has considered the entire record in both cases, the facts proffered by the

United States in support of the joinder and the positions of the parties. The Court finds joinder of

the cases for trial is not appropriate. Accordingly, the Motion for Joinder, as filed in both cases

[3:06-CR-153, Doc. 24] and [3:06-CR-154, Doc. 41], is DENIED. Case number 3:06-CR-154

shall proceed to trial as scheduled for tomorrow, March 29, 2007, before Honorable Judge Leon

Jordan, except that parties are directed to appear for trial at 8:30 a.m., rather than 9:00.

               IT IS SO ORDERED.

                                                       ENTER:


                                                             s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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